


 
   *26
   
  PER CURIAM.
 


   Affirmed.
  
  Petitioner is cautioned that filing frivolous actions or appeals, including further appeals of double jeopardy challenges to his convictions as raised in a motion to correct illegal sentence filed under Florida Rule of Criminal Procedure 3.800(a), may result in sanctions,
  
   State v. Spencer,
  
  751 So.2d 47 (Fla.1999), and/or referral to prison officials for consideration of disciplinary procedures, which may include loss of gain time. §§ 944.279(1), 944.28(2)(a), Fla. Stat.
 

  MAY, C.J., GROSS and LEVINE, JJ„ concur.
 
